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       (Rev. 09/l   6)   Order of Detention Pending Trial                                                       ortfi?i5/#'Jutll'&\
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                     United States of America
                                      v.
                                                                   District of Vermont


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                           Aron Lee Ethridge                                )      Case   No.    5:22-cr-42-1
                                                                            )
                                  Defendqnt                                 )

                                            ORDER OF DETENTTON PENDING TRIAL
                                                            Part I - Etigibility for Detention

     Upon the

                       of the Government attomey pursuant to 18 U.S.C. g 3142(f)(1), or
            f.Uotion
            / D Motion of the Govemment or Court's own motion pursuant to l8 U.S.C. g 3142(f)(2),

the Court held a detention hearing and found that detention is warranted. This order sets forth the Court's findings of fact
and conclusions of law, as required by l8 U.S.C. $ 3142(i), in addition to any other findings made at the hearing.

                                 Part II - Findings of Fact and Law as to Presumptions under $ 31a2(e)

  D A.   Rebuttable Presumption Arises Under 18 U.S.C. $ 31a2(eX2) (previow violator): There is a rebuttable
     presumption that no condition or combination of conditions will reasonably assure the safety of any other person
     and the community because the following conditions have been met:
           D (1) the defendant is charged with one of the following crimes described in 18 U.S.C. $ 3la2(0(l):
               tr(a) a crime of violence, a violation of 18 U.S.C. $ 1591, or an offense listed in l8 U.S.C.
                  $ 2332b(gX5)(B) for which a maximum term of imprisonment of 10 years or more is prescribed; or
               tr (b) an offense for which the maximum sentence is life imprisonment or death; or
               tr (c) an offense for which a maximum term of imprisonment of l0 years or more is prescribed in the
                  Controlled Substances Act(21U.S.C. $$ 801-904), the Controlled Substances Import and Export Act
                  (21 U.S.C. $$ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. $$ 70501-70508); or
               D(d) any felony ifsuch person has been convicted oftwo or more offenses described in subparagraphs
                        (a) through (c) of this paragraph, or two or more State or local offenses that would have been offenses
                        described in subparagraphs (a) through (c) of this paragraph if a circumstance giving rise to Federal
                       jurisdiction had existed, or a combination of such offenses; or
                    tr (e) any felony that is not otherwise a crime of violence but involves:
                   (i) a minor victim; (ii) the possession of a firearm or destructive device (as defined in 18 U.S.C. $ 921);
                   (iii) any other dangerous weapon; or (iv) a failure to register under 18 U.S.C. I2250; and
           D (2) the defendant has previously been convicted of a Federal offense that is described in l8 U.S.C.
              $ 3142(0(l)o or of a State or local offense that would have been such an offense if a circumstance giving rise
                to Federal jurisdiction had existed; and
           tr   (3) the oflense described in paragraph (2) above for which the defendant has been convicted was
                committed while the defendant wzr on release pending trial for a Federal, State, or local offense; and
           D    (a) a period of not more than five years has elapsed since the date of conviction, or the release of the
                defendant from imprisonment, for the offense described in paragraph (2) above, whichever is later.


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   D B. Rebuttable Presumption Arises Under        18 U.S.C. $ 31a2(eX3) (narcotics,lirearm, other offenses): There is a
      rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of the
      defendant as required and the safety ofthe community because there is probable cause to believe that the defendant
      committed one or more of the following offenses:
         tr (1) an offense for which a maximum term of imprisonment of l0 years or more is prescribed in the
            Controlled Substances Act(21U.S.C. $$ 801-904), the Controlled Substances Import and Export Act(21
            U.S.C. $$ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. $$ 70501-70508);
         tr (2) an offense under l8 U.S.C. gg 924(c), 956(a), or 2332b;
         tr (3) an offense listed in l8 U.S.C. $ 2332b(g)(5)(B) for which a maximum term of imprisonment of l0 years
                or more is prescribed;
            D (4) an offense   under Chapter 77 of Title 18, U.S.C. (lS U.S.C. $$ 1581-1597) for which a maximum term             of
                imprisonment of 20 years or more is prescribed; or
            D   (5) an offense involving a minor victim under l8 U.S.C. $$ 1201, 1591,2241,2242,2244(a)(l),2245,
                2251, 2251 A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 22524(a)(4),
                2260, 2421, 2422, 2423, or 2425.


   D C. Conclusions Regarding Applicabitity of Any Presumption Established Above

            D The defendant        has not introduced sufficient evidence to rebut the presumption above, and detention is
                ordered on that basis. (Part     III need not be completed.)
                OR

            D The defendant   has presented evidence sufficient to rebut the presumption, but after considering the
                presumption and the other factors discussed below, detention is warranted.

                                  Part   III   - Analysis and Statement of the Reasons for Detention

     After considering the factors set forth in l8 U.S.C. $ 3la2(g) and the information presented at the detention
hearing, the Court concludes that the defendant must be detained pending trial because the Government has proven:



   D By clear and convincing evidence that no condition or combination of conditions of release will reasonably           assure
      the safety of any other person and the community.

   tr By a preponderance of evidence  that no condition or combination of conditions of release        will reasonably   assure
      the defendant's appearance as required.

In addition to any findings made on the record at the hearing, the reasons for detention include the following:

       D   Weight of evidence against the defendant is strong
       D   Subject to lengthy period ofincarceration ifconvicted
       D   Prior criminal history
       D   Participation in criminal activity while on probation, parole, or supervision
       D   History of violence or use of weapons
       D   History of alcohol or substance abuse
       D   Lack of stable employment
       il  Lack ofstable residence
       tr Lack of financially responsible              sureties
       tr Lack of significant community                or family ties to this district

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         D    Significant family or other ties outside the United States
         il   Lack of legal status in the United States
         D    Subject to removal or deportation after serving any period of incarceration
         D    Prior failure to appear in court as ordered
         D    Prior attempt(s) to evade law enforcement
         I    Use of alias(es) or false documents
         D    Background information unknown or unverified
        I     Prior violations ofprobation, parole, or supervised release

OTHER REASONS OR FURTHER EXPLANATION:

        t(    Vtotion was unopposed by the defendant through statements of counsel
        (




                                                Part IV - Directions Regarding Detention

The defendant is remanded to the custody of the Attorney General or to the Attomey General's designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being
held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private consultation with
defense counsel. On order of a court of the United States or on request of an attorney for the Government, the person in
charge of the corrections facility must deliver the defendant to a United States Marshal for the purpose of an appearance in
connection with a court proceeding.

Date:                 o4125t2022
                                                                             Chief United States District Judge




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